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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                             WICHITA FALLS DIVISION


 FRANCISCAN ALLIANCE, INC., et al.,

                       Plaintiffs,

            v.
                                                            Civ. Action No. 7:16-cv-00108-O
 ALEX M. AZAR II, Secretary of the United
 States Department of Health and Human
 Services, et al.,

                       Defendants.




                                     NOTICE OF APPEARANCE

To:    The clerk of court and all parties of record

       I am admitted to practice in this court, and I appear in this case as counsel for Proposed

Intervenors River City Gender Alliance and American Civil Liberties Union of Texas.


       Respectfully submitted this 8th day of March, 2019.


                                                      /s/ Lindsey Kaley            g
                                                      LINDSEY KALEY
                                                      (New York Bar No. 5324983)
                                                      AMERICAN CIVIL LIBERTIES
                                                      UNION FOUNDATION
                                                      125 Broad Street, 18th Floor
                                                      New York, NY 10004
                                                      (212) 519-7823

                                                      Counsel for Proposed Intervenors
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                                 CERTIFICATE OF SERVICE

       On March 8, 2019, I electronically submitted the foregoing NOTICE OF

APPEARANCE to the clerk of the court for the U.S. District Court, Northern District of Texas,

using the electronic case filing system of the Court. I hereby certify that I have served counsel of

record for all parties through the Court’s ECF system.



                                                     /s/ Lindsey Kaley                      g
                                                     LINDSY KALEY
